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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

IN RE: Criminal Cases

     This matter is before the Court upon the Court's own motion:

     IT IS HEREBY ORDERED that government's exhibits in the case listed below
are to be returned to the United States Attorney for appropriate disposition.

     CASE NUMBER             CAPTION                               HEARING DATE

     4:99CR3043      USA v. Carl Richard Brooks         11/28/00
     4:99CR3043      USA v. John Edward Mull            8/11/99; 11/2/00
     4:99CR3043      USA v. Lemont Baggett              6/4/99; 9/24/99
     4:02CR3001      USA v. Fidel Solorio-Tafolla       8/13/02
     4:03CR3045      USA v. Kirk V. Washington          7/24/03
     4:03CR3047      USA v. Juan C. Aguilar             6/17/03
     4:03CR3115      USA v. Daniel W. Savage            3/23/04; 4/9/04
     8:04CR0215      USA v. Victor Manuel Moreno Servin 12/20/04
     4:04CR3007      USA v. Juan Pedro Colmenarez       5/27/04
     4:04CR3018      USA v. Stacey K. Costello          5/10/05
     4:05CR3025      USA v. Jose Alberto Perez          11/30/05




     DATED this 14th day of February, 2007.



                                         BY THE COURT

                                         s/ WARREN K. URBOM
                                         United States Senior District Judge
